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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                    District Court File No. 18-CR-00150 (1) (DWF/HB)

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )      RESPONSE BY THE
                                                  )      UNITED STATES TO
       vs.                                        )      DEFENSE MOTION TO
                                                  )      CONTINUE PRETRIAL
MICHAEL HARi,                                     )      MOTIONS FILING
                                                  )      DEADLINE AND
       Defendant.                                 )      MOTIONS HEARING


       The United States of America, through its attorneys, Erica H. MacDonald, United

States Attorney for the District of Minnesota, and Assistant United States Attorneys John

Docherty and Julie E. Allyn, responds as follows to the defense Motion to Continue Pretrial

Motions Filing Deadline and Motions Hearing (CM/ECF No. 78).

       The government does not oppose the motion. The government notes that defendant

Hari has been placed in administrative segregation in the Anoka County Jail because he

disabled a security device in his cell . This incident followed by approximately six months

an escape attempt defendant Hari made while in transit from Illinois to Minnesota. The

government does not dispute, in the slightest, that defendant is entitled to due process of

law; the government agrees that it should be possible for even inmates in segregation to

review discovery in their cases; but the government also considers defendant himself to be

partly responsible for the situation in which he finds himself.
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      That said, the government does not oppose a thirty day continuance of the motions

filing deadline and a corresponding continuance of the motions hearing.



                                         Respectfully Submitted,

                                         ERICA H. MacDONALD
                                         United States Attorney




                                         Assistant United States Attorney
                                         Attorney Reg. No. 017516X

                                         JULIE E. ALLYN
                                         Assistant United States Attorney
